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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN

 CHERYL HALL, and BRAD
 LAFUZE, on behalf of themselves and
 all others similarly situated,

      Plaintiffs,                      Case No. 20-cv-10670
                                       Hon. George C. Steeh
 v.                                    Mag. Judge Patricia T. Morris

 WELLPATH, LLC,

      Defendant.

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      DEFENDANT WELLPATH, L.L.C.’S REPLY TO PLAINTIFFS’
         RESPONSE TO DEFENDANT’S MOTION TO DISMISS

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      In their Response, Plaintiffs repeatedly mistake the purpose and effect of the

well-founded policies. Plaintiffs call for impractical reform of prison medical care

that is not supported by constitutional considerations. When considering the actual,

full policies set in place by Wellpath, which the Plaintiffs have referenced and

quoted both in their Complaint and their Response, the “allegedly unconstitutional

policies” are well-founded both in terms of medical considerations as well as in

terms of practicality. The Sixth Circuit has held that in certain circumstances, a

document that has not been formally incorporated by reference or that was not

attached to the complaint may still be considered in the pleadings. Greenberg v. Life

Ins. Co., 177 F.3d 507, 514 (6th Cir. 1999); “This occurs when ‘a document is

referred to in the complaint and is central to the plaintiff’s claim…” Id. In this event,

“the defendant may submit an authentic copy to the court to be considered on a

motion to dismiss, and the court’s consideration of the document does not require

conversion of the motion to one for summary judgment.” Id. see e.g., Weiner v. Klais

& Co., 108 F.3d 86, 89 (6th Cir. 1997). In Greenberg v. Life Insurance Co., the Sixth

Circuit Court of Appeals determined that each of the causes of action relates to and

arose from the insurance policies in question, and thus it was proper for the district

court to consider the policies themselves in the motion to dismiss. Greenberg v. Life

Ins. Co., 177 F.3d 507, 514 (6th Cir. 1999). The case at bar is identical, considering

the fact that each of Plaintiffs’ claims cite and reference five (5) of Wellpath’s

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policies which are outlined further in Plaintiffs’ Response brief. The policies

Plaintiffs specifically cite to and reference are; the Drug Classification System

(PageID.162) (Exhibit A), the Medication Verification Policy (PageID.163)

(Exhibit B), the Formulary Policy (PageID.163) (Exhibit C) the Mental Health

Evaluation Procedure Policy (PageID.164) (Exhibit D), and Wellpath’s policies

regarding a detainee’s opportunity to be heard for their complaints (PageID.165).

Plaintiffs have cited excerpts of the policies both in the Complaint (ECF No. 8) and

their Response brief (ECF No. 14). Thus, it is proper, pursuant to Greenberg, to

refer directly to the actual policies Wellpath has enacted, given Plaintiffs’

misrepresentations in their Response to the instant motion.

      Wellpath’s Drug Classification System and the Medication Verification

Policy are argued to have given rise to alleged constitutional violations to the three

named Plaintiffs. (PageID.162-63). When referencing the policies regarding drug

classification enacted at both Wayne County Jail (WCJ) and Grand Traverse County

Jail (GTCJ), both titled “HCD-100 E-09B Timely Initiation of Medication Upon

Arrival” (Exhibit A), it is unclear how Plaintiffs arrived at the legal conclusions

necessary to assert such allegations. The policy itself outlines that the purpose is “to

ensure that patients receive appropriate medications and that medications are

administered in a timely manner upon admission to the facility.” (Exhibit A, p. 1).

The policy establishes that “High-Priority medication” are those which should not

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be interrupted given clinical necessity and the short half-lives of the medication and

thus, when possible, to continue the medications without a single missed dose. (Id.

at p. 2). Furthermore, the policy states that “Routine medications will be attempted

to be verified within 24 hours, or sooner, of notification of the medication to health

care staff. Routine medications will generally be administered within 48 hours of

notification to health care staff, when ordered by a Wellpath prescriber or authorized

prescriber.” (Id. at p. 3.) The Medication Verification policy (Exhibit B), outlines

that the purpose of the policy is to ensure a process to verify reported medications

and then offers Wellpath prescribers the opportunity to use their medical judgment

to determine whether to continue, substitute, or discontinue based on clinical

necessity. (Exhibit B, p. 1). “Medication verification” is described as the process by

which an outside prescriber’s prescriptions are attempted to be confirmed and

reported to credentialed Wellpath prescribers or an authorized prescriber for that

medical professional to determine whether to continue, substitute, or discontinue the

medication based on clinical need. (Id. at § 3) (emphasis added). The “lower level

staff” Plaintiffs refer to for initiation of this procedure are in fact “Qualified Health

Care Professionals”.1 (Id. at § 5) Importantly, the policy protects Wellpath



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  Defined by the policy as “physicians, physician assistants, nurses, nurse
practitioners, dentists, dental hygienists, dental assistants, MAs, CNAs, mental
health professionals, and others who by virtue of education, credentials, and
experience are permitted by law to evaluate and care for patients”.
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prescribers’ right to exercise their own independent medical judgment by outlining

that the option to decline prescribing medications should be invoked when the

medication is not clinically indicated. (Id. at § 6.6) Despite the fact that Plaintiffs

allege that this Wellpath policy allows Wellpath staff to pretend current medications

“was ever [sic] prescribed” (PageID.163), and that Wellpath cuts people off for non-

medical reasons, the policy itself states otherwise. (Id. at § 6.6)

      Plaintiffs’ argument that Wellpath’s established Medication Classification

system and Medication Verification policy are unconstitutional is without merit. In

order to set out a legally cognizable claim sufficient to pass the threshold of a Motion

to Dismiss, Plaintiffs surreptitiously “piece-mealed” the policies together to paint an

inaccurate picture of Wellpath’s corporate policies. When referencing the policies

for which Plaintiffs cite to in their Complaint and Response, it is clear that the

policies are in place to ensure a stream-lined process that allows jail medical staff to

verify that a detainee is actually prescribed the medication they say they are

prescribed, before providing the detainee with controlled substances under their own

prescription powers. The policy ensures this while simultaneously eliminating the

risk that detainees who do not have outside prescriptions or clinical indication for

treatment do not gain access to controlled substances without exhibiting a medical

need for treatment. The National Commission on Correctional Health Care

(NCCHC), outlines that, policies such as that which Wellpath has in place, are

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important for ensuring detainees receive their medication in a timely fashion; yet,

“[c]linical need is the key factor; therefore, medications should be prescribed only

when they are clinically indicated.”2

        In Calhoun v. Ramsey, the plaintiff brought suit against the Sheriff of Kane

County, Illinois and the health service contracted to provide services to the county

jail, alleging deliberate indifference for their practice of not pre-verifying

medications despite the fact that the plaintiff requested approval to take blood

pressure medication prior to his arrival to the jail. Calhoun v. Ramsey, No. 00 C

3307, 2003 U.S. Dist. LEXIS 5090, at *22 (N.D. Ill. Mar. 28, 2003), aff’d Calhoun

v. Ramsey, 408 F.3d 375 (7th Cir. 2005). The court analogized the case to DeGenova

v. Sheriff of DuPage County, where the policy indicated healthcare staff will attempt

to contact your doctor for information to determine the need to continue treatment.”

Id. at *24; citing DeGenova v. Sheriff of DuPage Cnty., Case Number: 97 C 7208,

2001 U.S. Dist. LEXIS 17779, at *9 (N.D. Ill. Oct. 30, 2001). The court found

“[c]ontrary to [plaintiff’s] assertions otherwise and based on the particular facts of

this case, the Eighth Amendment simply does not require that Jail physicians be

located on site for purposes of prescription medication verification.” Calhoun, No.

00 C 3307, 2003 U.S. Dist. LEXIS 5090, at *28). When taking in account the entirety

of Wellpath’s Medication Verification policy and Drug Classification System, it is


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    https://www.ncchc.org/spotlight-on-the-standards-23-2
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abundantly clear that the policy does not reflect a deliberate indifference to a

detainee’s serious medical needs; but rather, reflects a mindset focused on ensuring

that detainees receive proper, clinically indicated medical treatment, which includes

treatment provided by community medical providers. Plaintiffs’ allegations ask the

Court to take medical judgment out of the hands of the providers who work in the

prison medicine setting and instead place it firmly in the hands of what a detainee or

their family members communicate to medical or correctional staff on intake.

      Plaintiffs also allege that Wellpath’s practice and policy of maintaining an

official formulary for their employees to use when determining medications to

prescribe is deliberately indifferent to a pre-trial detainee’s serious medical needs,.

Wellpath does not require Site Medical Directors to identify substitute medication

or advocate for prescription of non-formulary medications, and they do not require

an individualized mental health assessment by a Qualified Mental Health

Professional (QMHP) prior to formulary based determinations regarding

medications. (PageID.163-64). The policies which Plaintiffs allege to be

unconstitutional are titled HCD-100 D-02 Medication Services (Exhibit C) and

tangentially relevant is HCD-100 E-05 Mental Health Screening and Evaluation.

The purpose of the Medication Services policies is to “ensure that medication

services are clinically appropriate and provided in a timely, safe, and sufficient

manner.” (Exhibit C, p. 1). Specifically, § 6.4 states, “Wellpath maintains a

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medication formulary and an established non-formulary medication ordering and

approval process that ensures non-formulary medications are obtained in a timely

manner.” Lastly, § 6.7 ensures that “[p]atients entering the facility on verifiable

prescription medication continue to receive the medication in a timely fashion as

prescribed, or acceptable alternate medications are provided as clinically indicated.

Justification for an alternate treatment plan is documented.” (Id. at p. 3) The policies

themselves reference the NCCHC Standards. Formularies are an accepted tool in

medicine, widely used by medical specialty groups, health care providers and

insurers.34 The Sixth Circuit has even recognized the usefulness of drug formularies

in the jail and prison setting in Darrah v. Krisher, 865 F.3d 361, 372-73 (6th Cir.

Ohio, July 27, 2017). Wellpath’s policies regarding the drug formulary focus on

prescribing based on symptoms and conditions clinically indicated, and assurance

that a non-formulary approval process is established, and are not deliberately

indifferent to a detainee’s medical needs. The use of a formulary is a well-established

practice in medicine, as is the practice of prescribing medications only when a

clinical need is indicated.

      Plaintiffs further allege that Wellpath policies do not require a mental health

evaluation to be conducted within thirty (30) days of a positive mental health


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    https://www.medicare.gov/Pubs/pdf/11136-Pharmacies-Formularies-Coverage-
Rules.pdf
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  https://www.healthaffairs.org/do/10.1377/hpb20171409.000177/full/
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screening, which reflects a policy of deliberate indifference (PageID.164-65).

However, both the policies in place at WCJ and GTCJ directly refute Plaintiffs’

allegations. The policy in effect at both WCJ and GTCJ is titled, “HCD-100 E-05

Mental Health Screening and Evaluation” (Exhibit D), and while the definitions

section for “Mental Health Evaluation” states that an evaluation shall be completed

within thirty (30) days of a positive screen, the policy, when read as a whole, tells a

more complete procedure. (Exhibit D, pg. 3). The procedure involves an initial

intake process followed by a qualified health professional or mental health

professional who conduct a mental health screening within fourteen (14) days of

admission. (Id.) After the screening a referral is drafted if the detainee reflects a need

for mental health treatment. The policy ensures that patients who have needs which

exceed the facilities’ abilities will then be ttransferred to a location where their needs

can be met. (Id.) When a detainee has a positive or concerning result in the mental

health screening, they are referred to mental health staff for further assessment. The

policy states at § 6.4, “[a]ny referrals by a Qualified Health Professional (QHP) will

be triaged and assigned for follow-up. As a priority, emergent referrals will be

addressed first, while routine referrals will be seen within seven (7) days for sites

with 40 hours-a-week mental health coverage; within ten (10) days at sites with less

than 40 hours-a-week coverage; and within fourteen (14) days at sites with less than

10 hours-a-week coverage.” (Id. at p. 5). This specific policy comes directly from

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 the NCCHC standards and references ACA standards. The NCCHC states that the

 initial mental health screening with a QHP should be conducted within fourteen (14)

 days of intake, and if the detainee is positive for mental health problems, then the

 inmate should be referred to mental health services.5 The American Correctional

 Association has promulgated standards as well, titled as, “Adult Local Detention

 Facility” standards (“ALDF”), which support Wellpath’s policies directly as they

 are written. 4-ALDF-4C-24 states, “A comprehensive health appraisal for each

 inmate is completed within 14 days after arrival at the facility.” Wellpath’s policies

 regarding Mental Health Screening and Evaluation follow the best practices

 promulgated by correctional health associations to the point that they are nearly

 identical. Perhaps, the only recognizable change, stems from the varying times it

 may take a detainee to be evaluated by a mental health professional, but this delay

 is at most fourteen (14) days from a positive screening for prison facilities with the

 minimum number of contracted hours for mental health services, and as the policy

 states, only for less emergent or serious cases. In facilities contracted for 40 hours-

 a-week mental health coverage, such as GTCJ,6 routine referrals are seen within


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   https://www.ncchc.org/mental-health-screening-evaluation
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  https://www.traverseticker.com/news/county-scrutinizes-medical-funding-issues-
 at-
 jail/#:~:text=According%20to%20Grand%20Traverse%20Sheriff,climb%20to%20
 %24615%2C000%20in%202020. (“The county also contracts with Northern Lakes
 Community Mental Health to provide two full-time mental health professionals at
 the jail…”)
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 seven (7) days of the positive screening. This is a far cry from the “45 days before

 having the opportunity to be evaluated by a Qualified Mental Health Professional”

 (QMHP) that Plaintiffs allege in their Response (PageID.165) and Complaint. (¶

 301-314). When contrasting Plaintiffs’ allegations with the promulgated policy, it is

 quite clear that Plaintiffs have grossly misinterpreted Wellpath’s policies in order to

 support their deliberate indifference claims.

       As for Plaintiffs’ allegation that Wellpath fails to notify patients of medication

 denials and does not provide a process for appealing the denial of medication,

 Plaintiffs’ own factual assertions deny such allegations. In Plaintiffs’ Response, they

 allege that Mr. Lafuze was instructed to “kite” medical care for an appointment with

 a psychiatric nurse, which Mr. Lafuze did, and in response, he was scheduled an

 appointment. (PageID.168). Plaintiffs’ factual allegations reflect that there is in fact

 a process for getting into contact with healthcare, via “kite” communications, in

 order to request medication or an appointment. Plaintiffs’ factual allegations do not

 support the legal argument put forth regarding a policy or practice denying detainees

 the ability to be heard regarding denial of treatment. Given this, Plaintiffs’ theory of

 deliberate indifference regarding this policy must be dismissed.

       When referencing the full policies that Plaintiffs surreptitiously cite, it is clear

 that Wellpath has set policies that reflect the best standards of practice according to

 the NCCHC guidelines and community prescribing guidelines.

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       WHEREFORE, Defendant WELLPATH, L.L.C., respectfully requests this

 Honorable Court grant Defendant’s Motion to Dismiss, dismiss all claims against it

 with prejudice, and provide any and all such other relief as the Court deems just and

 equitable.

                                         Respectfully Submitted,
                                         CHAPMAN LAW GROUP

 Dated: August 5, 2020                   /s/Wedad Suleiman
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                               PROOF OF SERVICE

              I hereby certify that on August 5, 2020, I presented the
              foregoing paper to the Clerk of the Court for filing and
              uploading to the ECF system, which will send notification
              of such filing to the attorneys of record listed herein and I
              hereby certify that I have mailed by US Postal Service the
              document to the involved non participants.

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